                                  No. 3:15-cr-00037-2
                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


                              UNITED STATES OF AMERICA,

                                                                    Plaintiff,

                                                v.

                                   BENJAMIN BRADLEY,

                                                      Defendant.
______________________________________________________________________________

                  SUPPLEMENT TO MOTION TO MODIFY SENTENCE


       Defendant Benjamin Bradley, through undersigned counsel, hereby submits this

Supplement to provide the Court additional medical records in support of his motion to modify his

sentence.

       After submitting a FOIA request to the Bureau of Prisons, counsel received the attached

records of a June 5, 2020, medical appointment. (See Ex. A.) The records substantiate that, on that

date, Mr. Bradley’s weight was 295 pounds, his BMI was 41.1, and his blood pressure was

measured to be 178/100 and 184/106. The records also reflect diagnoses of essential (primary)

hypertension and obesity, a prescription of 5 milligrams of amlodipine daily for blood pressure (to

be increased gradually at his next appointment), and orders of laboratory tests, chest X-rays, and

an EKG.

       These records prove that Mr. Bradley has a CDC-recognized risk factor for severe

complications from COVID-19: severe obesity, combined with stage 2 hypertension. Additionally,




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the ordered tests imply that BOP doctors suspect Mr. Bradley may have additional underlying

conditions that would exacerbate a COVID-19 infection.

                                                      Respectfully submitted,

                                                      /s/ Melissa M. Salinas
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                                                      Christopher I. Pryby
                                                      Law School Graduate on Motion


                                  CERTIFICATE OF SERVICE

           I hereby certify that this Supplement was filed on June 8, 2020, using the Court’s ECF

system, which will send notice of this filing to all counsel of record indicated on the electronic

receipt.

                                                      /s/ Melissa M. Salinas
                                                      MELISSA M. SALINAS (MI-P69388)
                                                      University of Michigan Law School
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